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Ws ; —— June 15 - July 27 <in7:

{Texas visual art}

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How Do You Solve a Problem Like Meow Wolf?

by Christina Rees Neil Fauerso | October 1, 2018

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Installation at Meow Wolf’s House of Eternal Return

Ed note: Meow Wolf is an artistic production company that bills itself as
“Creating immersive art experiences that transport audiences to fantastic
realms.” Its first massive permanent installation in Santa Fe, New Mexico is

titled House of Eternal Return. |t is enormously popular. Glasstire’s Christina

 

. . . WE RECOMMEND
Rees and Neil Fauerso visited House of Eternal Return, separately, during the

 

summers of 2017 and 2018 (respectively). When discussing ‘Meow Wolf’ they
to. . Rising Tide Presents Nick Barbee
are generally referring in short-hand to the Santa Fe experience, the

production company, or both.
